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6
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     United States of America,             ) Case No. CR.S. 06-00035 MCE
8              Plaintiff,                  )
          vs.                              ) DATE: December 4, 2008
9
                                           ) TIME: 9:00 a.m.
10
     Zachary Jenson,                       ) COURT: Hon. Morrison C. England,
               Defendant                   ) Jr.
11                                         )
                                           ) Stipulation and Order To
12                                         ) Continue Judgment & Sentencing
                                           )
13

14
           Zachary Jenson is currently scheduled to be sentenced on
15
     November 20, 2008.    The parties agree and stipulate that Mr.
16

17
     Jenson’s sentencing should be moved to December 4, 2008 if that

18   date is available with the Court.
19
           The parties request the following schedule:
20
                Sentencing Memorandums:       November 27, 2008
21
                Judgment & Sentencing:        December 4, 2008
22

23

24   ///
25   ///
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          Case 2:06-cr-00035-MCE Document 377 Filed 11/14/08 Page 2 of 2


     Dated: November 11, 2008               Respectfully submitted,
1

2
                                              _/s/ Shari Rusk______
3                                             Shari Rusk
                                              Attorney for Defendant
4
                                              Zachary Jenson
5

6    Dated: November 11, 2008                   /s/ Ellen Endrizzi
                                                Ellen Endrizzi
7
                                                Assistant United States
8                                               Attorney

9
                                ORDER
10

11
          It is so ordered that Zachary Jenson be set for judgment
     and sentencing on December 4, 2008.
12

13
     DATED: November 14, 2008
14
                                   __________________________________
15                                 MORRISON C. ENGLAND, JR
                                   UNITED STATES DISTRICT JUDGE
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